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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

MARK E. FELGER (MF9985)
JERROLD N. POSLUSNY, JR. (JP7140)
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Proposed Attorneys for the Debtors

In re:                                                      Case No. 08-

SHAPES/ARCH HOLDINGS L.L.C., et al.,                        Judge:

                 Debtors.                                   Chapter: 11




                Recommended Local Form:              Followed             Modified


 APPLICATION FOR RETENTION OF PHOENIX MANAGEMENT SERVICES, INC.,
           AS RESTRUCTURING ADVISORS FOR THE DEBTORS


         1.      The applicants, Shapes/Arch Holdings L.L.C. (“Shapes/Arch”), Shapes L.L.C.

(“Shapes”), Delair L.L.C. (“Delair”), Accu-Weld L.L.C. (“Accu-Weld”) and Ultra L.L.C.

(“Ultra”, and with Shapes/Arch, Shapes, Delair and Accu-Weld, collectively, the “Debtors”), by

and through Steven Grabell, CEO of Shapes/Arch and Shapes, are the

          Trustee:                Chap. 7            Chap. 11              Chap. 13

          Debtors:                Chap. 11           Chap. 13

          Official Committee of

         2.      The Applicants seek to retain the following professional, Phoenix Management

Services, Inc. (“Phoenix”), to serve as:

          Attorney for:           Trustee            Debtors-in-Possession

                                   Official Committee of

          Accountant for:         Trustee            Debtor-in-Possession

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                                   Official Committee of

         Other Professional:

                                   Realtor      Appraiser              Special Counsel

                                   Auctioneer  Other (specify): Debtors’ Restructuring Advisors

        3.       The employment of the professional is necessary because: On this date, the

Debtors filed their petitions for relief under Chapter 11, of the Bankruptcy Code. The Debtors

believe that the retention of Phoenix, as their restructuring advisors, is necessary to enable the

Debtors to execute faithfully their duties and responsibilities in these cases.

        4.       The professional has been selected because: of Phoenix’s extensive experience in

managing all aspects of the bankruptcy process for its clients throughout the United States.

        5.       The professional services to be rendered are as follows:

                 (a)     Provide assistance to the Debtors and their bankruptcy counsel in
                         supplementing and/or amending the Chapter 11 Plan of Reorganization
                         (the “Plan”), the Disclosure Statement, and Schedules and Statements of
                         Financial Affairs (“SOFA”) and providing other information in support
                         thereof;

                 (b)     Maintain, roll forward and compare actual to projected results for the DIP
                         Model and assist with the day-to-day calculation, management and
                         reporting of the Company’s cash requirements, over-advance position and
                         availability during the bankruptcy;

                 (c)     Prepare a “Liquidation Analysis” to support the Plan and Disclosure
                         Statement;

                 (d)     Assist or participate in the preparation of the “Feasibility Study” (financial
                         projections) in conjunction with the Plan and Disclosure Statement;

                 (e)     Prepare for and provide testimony at any Chapter 11 hearings related to
                         post-petition financing as requested by the Debtors;

                 (f)     Assist with the preparation of analysis and financial reporting required by
                         the U.S. Bankruptcy Court, the Office of the U.S. Trustee, and, to the
                         extent directed by the company, requests made by the Debtors’ post-
                         petition lenders and the official unsecured creditors committee (if any),
                         including, Monthly Operating Reports (“MORs”), Schedules and SOFAs
                         and exhibits to first day pleadings in particular;

                 (g)     Assist with the review of motions and analysis prepared by the Creditors
                         Committee and other parties of interest.
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                 (h)     Assist the Debtors in preparing for and making presentations at meetings
                         with representatives of its secured and unsecured creditors;

                 (i)     Work with the Debtors’ bankruptcy counsel to provide evidentiary support
                         for and testimony in support of motions and other court matters;

                 (j)     Provide testimony in any Chapter 11 proceeding as needed;

                 (k)     Other duties as mutually agreed.

        6.       The proposed arrangement for compensation is as follows: Phoenix has requested

and has received a retainer in the amount of $125,000, to be applied to Court approved fees and

expenses. Subject to Court approval, Phoenix will seek compensation based upon its customary

hourly rates in effect from time to time as set forth below, plus reimbursement of actual,

necessary expenses incurred by Phoenix. The employees and assistants who will be responsible

for the representation of the Debtors and their current hourly rates are as follows:

                 Managing Directors                    $365/hr. - $425/hr.
                 Directors                             $275/hr. - $335/hr.
                 Vice Presidents                       $195/hr. - $265/hr.
                 Senior Associates                     $205/hr.- $245/hr.
                 Associates                            $150/hr. - $195/hr.
These hourly rates are Phoenix’s hourly rates for work of this nature and are subject to periodic

adjustments to reflect economic and other conditions. Other employees employed by Phoenix

may, from time to time, serve the Debtors in connection with these Chapter 11 Cases.

        7.       To the best of the applicants’ knowledge, the professional's connection with the

debtors, creditors, any other party in interest, their respective attorneys and accountants, the

United States Trustee, or any person employed in the office of the United States Trustee, is as

follows:

         None
         Describe connection: Please see the Certification of Vincent J. Colistra submitted in

support of this Application.

        8.       To the best of the applicant’s knowledge, the professional (check all that apply):

         does not hold an adverse interest to the estate.
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